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                             EXHIBIT B
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                                             October 21, 2024

Via Email and Expedited Mail

Gayle C. Sproul
Senior Vice President, Legal Affairs
CBS News
555 West 57th Street
New York, NY 10019
Gayle.Sproul@CBS.com

        Re:     Litigation Hold and Demand for CBS to Immediately Provide and Publicly
                Release the Full, Unedited Transcript of 60 Minutes Interview with
                Vice President Kamala Harris

Dear Ms. Sproul:

We write on behalf of our client, President Donald J. Trump.

On October 20, 2024, CBS News released a statement (the “October 20 Statement”) 1 conceding
that President Trump was accurate in his assertion that the 60 Minutes interview with Vice
President Kamala Harris (the “Interview”), which aired in two different versions on October 5
and 6, 2024 broadcasts, was doctored in order to mislead the American People ahead of the
Presidential Election.2 It is a matter of public record that “CBS cut portions of Harris’s answer to
a question about the war in Gaza in its initial broadcast, but it later provided [an allegedly] full
transcript of her remarks online.”3 The open question is whether such posted transcript is original
or whether it has also been doctored, edited, or manipulated in any way that is helpful to Kamala
Harris’ failing campaign. The October 20 Statement clearly admits that edits were done in order
to make Harris’ answers appear more “succinct.”4


1
  CBS News, A statement from 60 Minutes (Oct. 20, 2024), https://www.cbsnews.com/news/60-minutes-statement/.
2
  See e.g., President Donald J. Trump, TRUTH SOCIAL (Oct. 7, 2024) (“In normal times, what happened on 60
Minutes, (deceptively ‘doctoring’ her answers), would be THE END OF ANYONE’S CAMPAIGN! Kamala is slow,
incoherent, and is in no way qualified to be President of the United States. RELEASE THE TAPES FOR THE
GOOD OF AMERICA. We can do it the nice way, or the hard way!”).
3
  Ashleigh Fields, Trump ‘thinks’ he will sue over Harris’s ’60 Minutes’ interview, THE HILL (Oct. 18, 2024),
https://thehill.com/homenews/campaign/4942021-trump-thinks-sue-cbs-60-minutes.
4
  CBS News, A statement from 60 Minutes (Oct. 20, 2024), https://www.cbsnews.com/news/60-minutes-statement/.




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In a recent news distortion complaint filed before the Federal Communications Commission
(“FCC”), the Center for American Rights stated that your company has been “engaging in
significant and intentional news distortion” through broadcasts of the 60 Minutes interview on
both “Face the Nation” and “60 Minutes”.5 In response to the complaint, FCC commissioner
Nathan Simington said, “the Commission has certainly contemplated the possibility of
distortionary reporting taking place via splicing. That’s one reason I don’t think that this
complaint is facially ridiculous, and it would not be inappropriate for the commission to take it
up.”6

CBS and its 60 Minutes producers intentionally misled the public by broadcasting a skillfully
edited Interview transcript, while opting to release other portions online. Such manipulative
editing was aimed at causing confusion among the electorate regarding Vice President Kamala
Harris’s abilities, intelligence, and appeal. News organizations such as CBS have a responsibility
to accurately represent the truth of events, not distort an interview to try and make their preferred
candidate appear coherent and decisive, which Harris most certainly is not. Due to CBS’ actions,
the public cannot distinguish which Kamala Harris they are seeing: the candidate or the puppet of
a behind-the-scenes editor.

President Trump is rightly alleging that CBS’s “doctoring” of Harris’s answers on 60 Minutes
was deceptive. The allegation is not simply that CBS was dishonest; it is that CBS deceived
viewers into thinking Harris’ answer was, at the very least—as CBS put it—more “succinct” than
the word salad it actually was.7

The executives and producers at CBS, and 60 Minutes in particular, are unquestionably aware
that the purpose behind editing the Interview was to confuse the electorate and portray the Vice
President in a better light than a full, unedited transcript would reveal. Responsible news sources
must be held accountable to the highest standards. This is not the first time that CBS has engaged
in similar unethical and unlawful behavior through 60 Minutes in an effort to sabotage a
Republican presidential candidate. CBS’s misconduct here is evocative of the 2004 Dan Rather
60 Minutes scandal, where Rather presented four forged documents as authentic in an effort to
impugn President George W. Bush’s integrity regarding his service in the Texas Air National
Guard in 1972-73.8



5
  In re Complaint Against WCBS-TV (Oct. 16, 2024), https://www.americanrights.org/cases/cbs-accused-of-news-
distortion-in-vice-president-kamala-harris-interview-center-for-american-rights-files-formal-fcc-complaint
6
  Brian Flood and Alba Cuebas-Fantauzzi, FCC commissioner explains if CBS could be in hot water over
controversial ’60 Minutes’, Fox News (Oct. 18, 2024), https://archive.is/mdpnW#selection-1423.0-1463.8
7
  CBS News, A statement from 60 Minutes (Oct. 20, 2024), https://www.cbsnews.com/news/60-minutes-statement/.
8
  Michael Dobbs and Howard Kurtz, Expert Cited by CBS Says He Didn’t Authenticate Papers, The Washington Post
(September 14, 2004), https://web.archive.org/web/20110514062505/http://www.washingtonpost.com/ac2/wp-
dyn/A18982-2004Sep13?language=printer; Brian Ross and Howard Rosenberg, Document Analysts: CBS News
Ignored Doubts, ABC News (September 14, 2004),
https://abcnews.go.com/WNT/Investigation/Story?id=131423&page=1; CBS Ousts 4 over Bush Guard story,
Associated Press (January 10, 2005), https://www.nbcnews.com/id/wbna6807825




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We therefore demand that you immediately provide and publicly release the full, unedited
transcript of the 60 Minutes Interview with Kamala Harris. Additionally, in contemplation of
possible litigation, we demand that you preserve all communications and documents relating to
this Interview, together with any edits of the Interview’s content, and that you refrain from
destroying any relevant communications or documents. Kindly confirm receipt of this letter
within 48 hours and further confirm your intention to cooperate with these demands. We
appreciate your anticipated cooperation.

All rights reserved.

                                   Sincerely,




                                    Edward Andrew Paltzik
                                    Counsel to President Donald J. Trump




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